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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                          CASE NO.: 19-24441-CIV-ALTONAGA/Goodman



  C.W., a minor, by and through her
  father, natural guardian and next
  Friend, F.W.

         Plaintiffs,

  vs.

  NCL (BAHAMAS) LTD., a
  Bermuda corporation d/b/a
  NORWEGIAN CRUISE LINES,

         Defendant.


  ________________________________________________/

   DEFENDANT’S EMERGENCY MOTION FOR PROTECTIVE ORDER REGARDING
     PLAINTIFF’S UNILATERALLY NOTICED DEPOSITION OF DEFENDANT’S
                      CORPORATE REPRESENTATIVE

         Defendant, NCL (BAHAMAS) LTD., d/b/a NORWEGIAN CRUISE LINE, by and

  through undersigned counsel and pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule

  26.1(g)(3), respectfully requests that this Court enter a Protective Order as to the unilaterally-

  noticed deposition of Defendant’s corporate representative and, in support thereof, states as

  follows:

         1.       This is a maritime, personal injury action in which Plaintiff, C.W., a passenger on

  Defendant’s cruise vessel the Norwegian Pearl, alleges that she was assaulted by an adult male

  passenger. [D.E. 1 & 35].




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            2.       On February 28, 2020, Plaintiff’s counsel unilaterally noticed the deposition of

  Defendant’s corporate representative to take place on March 25, 2020. See Notice, attached as Ex.

  A.

            3.       Prior to this unilateral notice, defense counsel had advised Plaintiff’s counsel that

  it was unavailable for deposition on the specified date.

            4.       On numerous occasions, defense counsel has reached out to Plaintiff’s counsel

  regarding: (a) Defendant’s unavailability for the corporate representative deposition on the noticed

  date; (b) Defendant providing proposed alternative dates for the corporate representative

  deposition (as well as proposed dates for the deposition and medical evaluation of Plaintiff); and

  (c) requesting that Plaintiff’s counsel notice the cancelation of the unilaterally noticed deposition

  of Defendant’s corporate representative (with the understanding that it would be reset for a

  mutually agreeable date and time; Defendant has provided alternative dates on numerous

  occasions). See various (non-exhaustive) emails, attached as Ex. B.

            5.       Despite repeated, ongoing, and extensive attempts to reach Plaintiff’s counsel to

  confer on the aforementioned issues (e.g, emails, phone calls, voicemails, and text messages),

  defense counsel has yet to receive a response from Plaintiff’s counsel regarding its proposed

  alternate dates for the corporate representative deposition and/or the noticing of the deposition’s

  cancellation due to Defendant’s stated unavailability.

            6.       With the date of the unliterally noticed corporate representative deposition swiftly

  approaching (March 25, 2020), defense counsel has continued to make extensive efforts to reach

  Plaintiff’s counsel to ensure that Plaintiff will be noticing the deposition’s cancellation. As stated,

  this effort has included sending numerous emails, telephone calls, voicemails, and text messages




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  to all members of Plaintiff’s counsel’s office. Despite these efforts, Plaintiff’s counsel has yet to

  respond.

         7.       In addition to the failure of Plaintiff’s counsel to respond to defense counsel

  regarding the cancellation (i.e., rescheduling) of the corporate representative deposition due to

  Defendant’s previously indicated unavailability, Defendant submits that current global

  circumstances warrant the preclusion of Plaintiff’s ability to conduct the deposition on the

  unilaterally noticed date.

         8.       Approximately one week ago, the World Health Organization declared the new

  coronavirus (COVID-19) a global pandemic, after which the President of the United States

  declared a national emergency to deal with the highly contagious and deadly disease.

         9.       As of the date of this motion, the executive branch has advised that the virus crisis

  is likely to last through the summer of 2020.

         10.      In an effort to mitigate community spread of the virus, state and federal

  governments have implemented social distancing measures to be carried out over the next several

  weeks, which include: (a) closing elementary schools and universities; (b) closing restaurants and

  other businesses; (c) recommending that non-essential travel and social visits be avoided; (d)

  recommending that older Americans stay at home; and (e) recommending that gatherings of ten or

  more people be avoided.

         11.      Furthermore, the offices of Defendant and defense counsel are closed, with all

  employees working from home, and Defendant’s vessels are operating under extraordinary

  circumstances due to the request from the President of the United States to cease all voyages.

         12.      The aforementioned circumstances are grossly interfering with the daily and

  professional lives of Defendant and undersigned counsel (as is undoubtedly the case with Plaintiff


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  and Plaintiff’s counsel). By way of example, defense counsel is having a very difficult time

  meeting with Defendant’s corporate representative to prepare for the corporate representative

  deposition, and the corporate representative is having a difficult time gathering the necessary

  information in order to prepare for the unilaterally noticed deposition on March 25, 2020.

         13.      In light of all the aforementioned circumstances and the general failure of Plaintiff’s

  counsel to respond to defense counsel’s numerous attempts at contact, Defendant is forced to seek

  this emergency protective order to obtain judicial intervention with respect to the cancellation of

  the unilaterally noticed corporate representative deposition scheduled for March 25, 2020.

         14.      Federal courts have the discretion to grant protective orders as to depositions and

  the time and place of same under Rule 26(c) of the Federal Rules of Civil Procedure when the

  movant demonstrates a particular need. See, Smith v. Powder Mountain, LLC, 2009 WL 10698489,

  *10 (S.D. Fla. Nov. 9, 2019); see also, Wrangen v. Pa. Lumbermans Mut. Ins. Co., 593 F.Supp.2d

  1273, 1277 (S.D. Fla. 2008). Here, Defendant has demonstrated a particular need for a protective

  order as to the deposition of its corporate representative, as the unilaterally-noticed deposition is

  scheduled to occur in five (5) days from now, defense counsel has repeatedly conveyed its

  unavailability for deposition on the noticed date, defense counsel has repeatedly offered alternative

  dates, and Plaintiff’s counsel has simply failed to respond.

         WHEREFORE, Defendant, NCL (BAHAMAS) LTD., d/b/a NORWEGIAN CRUISE

  LINE, respectfully requests that this Honorable Court enter a Protective Order precluding Plaintiff

  from taking the deposition of Defendant’s corporate representative on March 25, 2020, and for

  any and all further relief that this Court deems just and proper.




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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         Undersigned counsel hereby certifies that it has made numerous attempts to confer with

  Plaintiff’s counsel in a good faith effort to resolve the issues raised in the instant Motion and that

  Plaintiff’s counsel has repeatedly and continuously simply failed to respond.

              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(d)(1)

         After reviewing the facts and researching the applicable legal principles, I certify that this

  Motion in fact presents a true emergency (as opposed to a matter that may need only expedited

  treatment) and requires an immediate ruling because the Court would not be able to provide

  meaningful relief to a critical, non-routine issue after the expiration of seven days. I understand

  that an unwarranted certification may lead to sanctions.

         Dated: March 20, 2020
                Miami, Florida

                                                           Respectfully submitted,

                                                           FOREMAN FRIEDMAN, P.A.

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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on this 20th day of March, 2020. I also certify that the foregoing was served on

  all counsel or parties of record on the attached Service List either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronic Notices of Filing.


                                                           By: /s/ Avi C. Shoham______
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